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 1                              UNITED STATES DISTRICT COURT
 2                             NORTHERN DISTRICT OF CALIFORNIA

 3
     IN RE: ROUNDUP PRODUCTS                              MDL No. 2741
 4   LIABILITY LITIGATION                                 Case No. 3:16-md-02741-VC
 5
     This document relates to:
 6   Barton Penrod v. Monsanto Co.,
 7   Case No. 3:16-cv-05901-JCS

 8
               [PROPOSED] ORDER RE JOINT STIPULATION FOR
 9    VOLUNTARY DISMISSAL WITH PREJUDICE OF PLAINTIFF BARTON PENROD

10
            Upon consideration of Plaintiff Barton Penrod’s and Defendant Monsanto Company’s
11
     Joint Stipulation for Voluntary Dismissal With Prejudice of Plaintiff Barton Penrod, it is on this
12
             day of                        , 2018, hereby:
13
            ORDERED that the Joint Stipulation for Voluntary Dismissal With Prejudice of Plaintiff
14
     Barton Penrod is GRANTED; and
15
             FURTHER ORDERED that each party shall bear its own costs and attorney’s fees.
16
     IT IS SO ORDERED.
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19                                                           Hon. Vince Chhabria
                                                             Judge, U.S. District Court for the
20                                                           Northern District of California
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      [PROPOSED] ORDER RE JOINT STIPULATION FOR VOLUNTARY DISMISSAL OF PLAINTIFF BARTON PENROD
                                            3:16-md-02741-VC
